     Case 4:20-cv-03664-YGR Document 1103-1 Filed 04/12/24 Page 1 of 3




 1

 2

 3

 4

 5

 6

 7

 8

 9

10                          UNITED STATES DISTRICT COURT
11             NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
12
                                              Case No. 4:20-cv-03664-YGR-SVK
13   CHASOM BROWN, et al., individually and
     on behalf of all similarly situated,     [REVISED   PROPOSED]    ORDER
14                                            GRANTING MOTION TO SEAL
          Plaintiffs,
15
                 v.
16                                            Judge: Hon. Yvonne Gonzalez Rogers
     GOOGLE LLC,
17
          Defendant.
18

19

20

21

22

23

24

25

26

27

28

                                                             Case No. 4:20-cv-03664-YGR-SVK
                                      [REVISED PROPOSED] ORDER GRANTING MOTION TO SEAL
     Case 4:20-cv-03664-YGR Document 1103-1 Filed 04/12/24 Page 2 of 3




 1                                 [REVISED PROPOSED] ORDER
 2         Before the Court is Plaintiffs’ Administrative Motion to File Under Seal Portions of
 3 Plaintiffs’ Unopposed Motion for Final Approval of Class Action Settlement. (Dkt. 1097)

 4 (“Motion”) and Google’s Motions to Seal and Remove Documents (Dkts. 1099, 1100). Having

 5 considered the motions, supporting declarations, and other papers on file, and good cause having

 6 been found, the Court ORDERS as follows:

 7     Document or Portion of Document              Evidence Offered in              Ruling
               Sought to be Sealed                  Support of Sealing
 8    Motion for Approval of                     Margolies Declaration ¶¶ 3–5
 9    Class Action Settlement (Dkt. 1096 &
      1097-1)
10
      Portions highlighted at pages 13:18,
11    15:20–23, 15:25-28
12
      Mao Decl. Exhibit 1 – Settlement           Margolies Declaration ¶¶ 3–5
13    Agreement (Dkt. 1097-3)

14    Portions highlighted at Exhibits B–D

15    Mao Decl. Exhibit 9 – GOOG-BRWN-           Margolies Declaration ¶¶ 3–5
      00406065 (Dkt. 1097-12)
16

17    Portions highlighted at pages -065–069

18    Mao Decl. Exhibit 10 – GOOG-CABR- Margolies Declaration ¶¶ 3–5
      03611484 (Dkt. 1097-13)
19

20    Portions highlighted at pages -484

21    Thompson Declaration (Dkts. 1097-          Margolies Declaration ¶¶ 3–5
      16–17)
22
      Portions highlighted at pages 2:18,
23    3:13, 3:23, 4:4–6, 4:10, 4:15–16
24
      Thompson Decl. Exhibit B (Dkt. 1097-       Margolies Declaration ¶¶ 3–5
25    19)

26    Portions highlighted at pages 7:20–21,
      7:23–25, 8:14, Exhibit A at pages 2–3
27

28

                                                      1               Case No. 4:20-cv-03664-YGR-SVK
                                               [REVISED PROPOSED] ORDER GRANTING MOTION TO SEAL
     Case 4:20-cv-03664-YGR Document 1103-1 Filed 04/12/24 Page 3 of 3




 1   Thompson Decl. Exhibit C (Dkt. 1097-      Margolies Declaration ¶¶ 3–5
     21
 2
     Portions highlighted in green at pages
 3
     1-4
 4

 5

 6        SO ORDERED.
 7

 8   DATED:
                                                     HON. YVONNE GONZALEZ ROGERS
 9                                                   United States District Judge

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                     2               Case No. 4:20-cv-03664-YGR-SVK
                                              [REVISED PROPOSED] ORDER GRANTING MOTION TO SEAL
